                 Case: 15-5976        Document: 44-1       Filed: 08/29/2017    Page: 1                (1 of 2)




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
     Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
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                                                    Filed: August 29, 2017


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                       Re: Case No. 15-5976, American National Property An v. Carol Stutte, et al
                           Originating Case No. : 3:11-cv-00219

  Dear Sir or Madam,

     The Court issued the enclosed (Order/Opinion) today in this case.

                                                    Sincerely yours,

                                                    s/Connie A. Weiskittel
                                                    Case Manager

  cc: Ms. Debra Poplin

  Enclosure

  Mandate to issue




Case 3:11-cv-00219-RLJ-CCS Document 281 Filed 08/31/17 Page 1 of 2 PageID #: 6332
                  Case: 15-5976        Document: 44-2      Filed: 08/29/2017      Page: 1      (2 of 2)



                                           Case No. 15-5976

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                               ORDER



  AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY

                Plaintiff - Appellee

  v.

  CAROL ANN STUTTE; LAURA JEAN STUTTE

                Defendants - Appellants



       In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

  Motion for Voluntary Dismissal filed by the Appellant,

       It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

  of Appellate Procedure.

                                                    ENTERED PURSUANT TO RULE 33,
                                                    RULES OF THE SIXTH CIRCUIT
                                                    Deborah S. Hunt, Clerk


  Issued: August 29, 2017
                                                    ___________________________________




Case 3:11-cv-00219-RLJ-CCS Document 281 Filed 08/31/17 Page 2 of 2 PageID #: 6333
